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                                                 #:74548

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           15      Attorneys for Defendant Apple Inc.
           16                      UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18
                   MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           19      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                  APPLE’S NOTICE OF MOTION AND
           20      a Delaware corporation,                       MOTION FOR PARTIAL SUMMARY
                                                                 JUDGMENT ON PLAINTIFFS’
           21                         Plaintiffs,                TRADE SECRET CLAIM AND
                                                                 PLAINTIFFS’ LOST PROFITS
           22            v.                                      DAMAGES THEORY
           23      APPLE INC.,
                   a California corporation,                     Date: February 6, 2023
           24                                                    Time: 1:30pm
                                      Defendant.                 Pre-Trial Conference: Mar. 13, 2023
           25                                                    Trial: Mar. 27, 2023
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           28       APPLE’S NOTICE OF MOT. AND MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM AND
                    LOST PROFITS
Wilmer Cutler
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1083 Filed 12/19/22 Page 2 of 4 Page ID
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Wilmer Cutler
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
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and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1083 Filed 12/19/22 Page 3 of 4 Page ID
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             1     TO THE COURT, PLAINTIFFS, AND ALL COUNSEL OF RECORD
             2           PLEASE TAKE NOTICE that on February 6, 2023, or as soon thereafter as the
             3     matter may be heard, in Courtroom 10C, located at 411 West Fourth Street, Santa Ana,
             4     California, 92701, Defendant Apple Inc. (“Apple”) will, and hereby does, move the
             5     Court for an order granting partial summary judgment in Apple’s favor of no liability on
             6     Plaintiffs’ trade secret claim and/or Plaintiffs’ lost profits damages theory.
             7           This motion is made following the conference of counsel pursuant to Local Rule
             8     7-3, which took place on December 12, 2022. It is supported by the accompanying
             9     Memorandum of Points and Authorities, the Proposed Statement of Uncontroverted
           10      Facts and Conclusions of Law, the Declaration of Nora Passamaneck and attached
           11      Exhibits 1-29, a Proposed Order, and such other evidence or argument as may be
           12      presented at or before the hearing.
           13
           14      Dated:       December 19, 2022          Respectfully submitted,
           15
                                                           MARK D. SELWYN
           16                                              AMY K. WIGMORE
           17                                              JOSHUA H. LERNER
                                                           SARAH R. FRAZIER
           18                                              NORA Q.E. PASSAMANECK
           19                                              THOMAS G. SPRANKLING
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                                                           KENNETH G. PARKER
           24                                              HAYNES AND BOONE, LLP
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           28       APPLE’S NOTICE OF MOTION AND MOTION FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM
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             1                                           By: /s/ Mark D. Selwyn
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                    AND LOST PROFITS
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                                                             2            CASE NO. 8:20-cv-00048-JVS (JDEX)
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